                           Case MDL No.THE
                            BEFORE      2406 UNITED
                                              DocumentSTATES
                                                      375 Filed JUDICIAL
                                                                07/07/17 Page 1 of 5
                                                                            PANEL
                                               ON MULTIDISTRICT LITIGATION

MDL No. 2406                    Blue Cross Blue Shield Antitrust Litigation
        ______ & Title - IN RE: ____________________________________________________


                                                           NOTICE OF APPEARANCE
                                      (Appearances should only be entered in compliance with Rule 4.1(c).


PARTIES REPRESENTED (indicate plaintiff or defendant (i.e. Plaintiff Bob Jones)–If representation
includes more than one party, attach a separate list.)
Defendants (see attached list)

SHORT CASE CAPTION(s) (Include District and Civil Action No. (i.e. Jones v. Smith Corp., et al., D.
Delaware, 1:14-586)–If party representation includes more than one case, attach a schedule of actions)
NOTE: Include only actions in which you are entering an Appearance.
Bradley A. Chicoine, D.C., et. al. v. Wellmark Inc. et. al., No: 4:17-cv-00210 (S.D. Iowa)



        In compliance with Rule 4.1(c), R.P.J.P.M.L., 199 F.R.D. 425, 431 (2001), the following designated
attorney is authorized to receive service of all pleadings, notices, orders, and other papers relating to practice before
the United States Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
aware that only one attorney can be designated for each party.

                         7/7/2017                                                      /s/ Daniel E. Laytin
            _____________________________________________________________________________
                                       Date                                           Signature of Attorney or Designee


Name and Address of Designated Attorney: Daniel E. Laytin, P.C.
                                        Kirkland & Ellis LLP
                                        300 N LaSalle
                                        Chicago, IL 60654
               312-862-2198
Telephone No.: ________________________               312-862-2200
                                             Fax No.:________________________

                         daniel.laytin@kirkland.com
Email Address: _________________________

Instructions:


1. From the JPML home page, download Notice of Appearance. Fill out form and save in .pdf format. (All documents filed with the Judicial Panel must be in PDF Format.)
The Appearance Form is to be filed as the main PDF document. Any documents submitted with the Appearance Form are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.
3. Click on Notices. Select the appropriate Notice of Appearance. Select Next.
4. Enter the three or four digit MDL number (ex. 875). Select Next.
5. Verify MDL number, if correct Select Next.
6. Choose the case(s) for which the Appearance is being filed. Select Next.
7. Select Party. Select next twice.
8. Upload the Appearance Form as the Main document and all other documents as attachments. Be sure to choose a category and description. Select the document to which
the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial Motion for Transfer and Appearances filed in transferred litigations should be
linked to the Conditional Transfer Order (CTO).
9. Select the next button and verify docket text. If correct continue to select next to complete the transaction.
                                                                                                                                                               JPML Form 18
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                         BEFORE THE JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


In re: BLUE CROSS BLUE SHIELD          )
ANTITRUST LITIGATION                   )             MDL No. 2406
                                       )



                             PARTIES REPRESENTED

 1. Defendant Wellmark Inc. d/b/a Wellmark Blue Cross and Blue Shield of Iowa and
    Wellmark Health Plan of Iowa, Inc.

 2. Intervenor Defendant Blue Cross and Blue Shield Association
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                            BEFORE THE JUDICIAL PANEL
                           ON MULTIDISTRICT LITIGATION


 In re: BLUE CROSS BLUE SHIELD              )
 ANTITRUST LITIGATION                       )               MDL No. 2406
                                            )


                               CERTIFICATE OF SERVICE

        I, Daniel E. Laytin, as Counsel for Defendants Wellmark Inc. d/b/a Wellmark Blue Cross
and Blue Shield of Iowa and Wellmark Health Plan of Iowa, Inc. (“Wellmark”) and Blue Cross
and Blue Shield Association, hereby certify that on the 7th day of July, 2017, a copy of the
foregoing Notice of Appearance was electronically filed with the Judicial Panel on Multidistrict
Litigation by using the CM/ECF system on behalf of Defendants Wellmark and Blue Cross and
Blue Shield Association, which will send notice of electronic filing to all parties of record:



    Glenn L. Norris                             Kara Marie Simons
    HAWKINS & NORRIS PC                         Steven P. Wandro
    2501 Grand Ave.                             WANDRO & ASSOCIATES, P.C.
    Des Moines, IA 50312-1791                   2501 Grand Ave.
    Tel: (515) 288 6532                         Suite B
    Fax: (515) 288-9733                         Des Moines, IA 50312-1791
    gnorris@2501grand.com                       Tel: (515) 281-1475
                                                Fax: (515) 281-1474
    Harley C. Erbe                              ksimons@2501grand.com
    ERBE LAW FIRM                               swandro@2501grand.com
    2501 Grand Ave.
    Des Moines, IA 50312-1791
    Tel: (515) 281-1460
    Fax: (515) 281-1474
    erbelawfirm@aol.com                         Counsel for Plaintiffs




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Date: July 7, 2017                    /s/ Daniel E. Laytin, P.C.
                                      Daniel E. Laytin, P.C.
                                      Zachary D. Holmstead
                                      KIRKLAND & ELLIS LLP
                                      300 North LaSalle Street
                                      Chicago, IL 60654
                                      Tel: (312) 862-2000
                                      Fax: (312) 862-2200
                                      dlaytin@kirkland.com
                                      zachary.holmstead@kirkland.com

                                      Benjamin Patrick Roach
                                      NYEMASTER GOODE PC
                                      700 Walnut Street
                                      Suite 1600
                                      Des Moines, IA 50309-3899
                                      Tel: (515) 283-8158
                                      Fax: (515) 283-3108
                                      bproach@nyemaster.com

                                      Hayward L. Draper
                                      NYEMASTER GOODE PC
                                      700 Walnut Street
                                      Suite 1600
                                      Des Moines, IA 50309-3899
                                      Tel: (515) 283-8158
                                      Fax: (515) 283-3108
                                      hdraper@nyemaster.com

                                      Counsel for the Defendant Wellmark Inc. d/b/a
                                      Wellmark Blue Cross and Blue Shield of Iowa and
                                      Wellmark Health Plan of Iowa, Inc.




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                           David J. Zott, P.C.
                           Daniel E. Laytin, P.C.
                           Zachary D. Holmstead
                           KIRKLAND & ELLIS LLP 300
                           North LaSalle Street Chicago, IL
                           60654
                           Tel: (312) 862-2000
                           Fax: (312) 862-2200
                           david.zott@kirkland.com
                           dlaytin@kirkland.com
                           zachary.holmstead@kirkland.com

                           Joan M. Fletcher
                           Jeffrey A. Krausman
                           DICKINSON MACKAMAN TYLER & HAGEN
                           PC
                           699 Walnut St.
                           1600 Hub Tower
                           Des Moines, IA 50309-3986
                           Tel: (515) 244-2600
                           Fax: (515) 246-4550
                           jfletcher@dickinsonlaw.com
                           jkrausman@dickinsonlaw.com

                           Counsel for Blue Cross and Blue Shield
                           Association




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